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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF ILLINOIS


United States,                           )
             Plaintiff,                  )
                                         )         Case No. 06 CR 451-49
              v.                         )
                                         )
Arturio Austin,                          )         Judge: Matthew F. Kennelly
              Defendant.                 )


                                        ORDER

       The Court denies defendant Arturio Austin's motion for reduction of sentence [dkt.
no. 982]. Retroactively-applicable amendments to the Sentencing Guidelines reduce
Mr. Austin's base offense level to 34, which means that his advisory Guidelines range
would be 188 to 235 months. However, the Court already imposed a sentence under the
low end of that range. The amendments to the Guidelines preclude a reduction below
the low end of the newly-applicable range. See U.S.S.G. §1B1.10(b)(2)(A). This
prevents the Court from ordering a further reduction in Mr. Austin's case.




Date: 9/21/2015
